Case 3:18-cv-00428-DMS-MDD Document 155 Filed 07/25/18 PageID.2700 Page 1 of 2



        Lee Gelernt*                                 Bardis Vakili (SBN 247783)
   1    Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
        Anand Balakrishnan*                          DIEGO &
   2    AMERICAN CIVIL LIBERTIES                     IMPERIAL COUNTIES
        UNION FOUNDATION                             P.O. Box 87131
   3    IMMIGRANTS’ RIGHTS PROJECT                   San Diego, CA 92138-7131
        125 Broad St., 18th Floor                    T: (619) 398-4485
   4    New York, NY 10004                           F: (619) 232-0036
        T: (212) 549-2660                            bvakili@aclusandiego.org
   5    F: (212) 549-2654
        lgelernt@aclu.org                            Stephen B. Kang (SBN 292280)
   6    jrabinovitz@aclu.org                         Spencer E. Amdur (SBN 320069)
        abalakrishnan@aclu.org                       AMERICAN CIVIL LIBERTIES
   7                                                 UNION FOUNDATION
        Attorneys for Petitioner-Plaintiff           IMMIGRANTS’ RIGHTS PROJECT
   8    *Admitted Pro Hac Vice                       39 Drumm Street
                                                     San Francisco, CA 94111
   9                                                 T: (415) 343-1198
                                                     F: (415) 395-0950
  10                                                 skang@aclu.org
                                                     samdur@aclu.org
  11

  12
                            UNITED STATES DISTRICT COURT
  13                      SOUTHERN DISTRICT OF CALIFORNIA

  14
       Ms. L., et al.,                                     Case No. 18-cv-00428-DMS-MDD
  15
                             Petitioner-Plaintiff,
  16   v.
                                                           Date Filed: July 25, 2018
  17   U.S. Immigration and Customs Enforcement
       (“ICE”), et al.,
  18
                                                           PLAINTIFFS’ NOTICE OF
  19                       Respondents-Defendants.         MOTION AND MOTION TO
                                                           FILE RESTRICTED
  20                                                       DECLARATIONS
  21

  22

  23

  24

  25

  26
  27

  28
Case 3:18-cv-00428-DMS-MDD Document 155 Filed 07/25/18 PageID.2701 Page 2 of 2



   1
   2         Plaintiffs respectfully request that the Court permit the filing of restricted
   3   declarations.
   4         The declarations, which are attached to Plaintiffs’ Reply in Support of
   5   Motion for Stay of Removal [Dkt. 153] as Exhibits 50 and 52, contain the names,
   6   locations, and alien numbers of members of the class. For their privacy and safety,
   7   Plaintiffs request permission to file unrestricted declarations with their full names
   8   redacted and permission to file declarations with the names under seal. The
   9   declarations are identical except for the inclusion of their full names.
  10
       Dated: July 25, 2018                       Respectfully Submitted,
  11
                                                  /s/Lee Gelernt
  12   Bardis Vakili (SBN 247783)                 Lee Gelernt*
       ACLU FOUNDATION OF SAN                     Judy Rabinovitz*
  13   DIEGO & IMPERIAL COUNTIES                  Anand Balakrishnan*
       P.O. Box 87131                             AMERICAN CIVIL LIBERTIES
  14   San Diego, CA 92138-7131                   UNION FOUNDATION
       T: (619) 398-4485                          IMMIGRANTS’ RIGHTS PROJECT
  15   F: (619) 232-0036                          125 Broad St., 18th Floor
       bvakili@aclusandiego.org                   New York, NY 10004
  16                                              T: (212) 549-2660
       Stephen B. Kang (SBN 2922080)              F: (212) 549-2654
  17   Spencer E. Amdur (SBN 320069)              lgelernt@aclu.org
       AMERICAN CIVIL LIBERTIES                   jrabinovitz@aclu.org
  18   UNION FOUNDATION                           abalakrishnan@aclu.org
       IMMIGRANTS’ RIGHTS PROJECT
  19   39 Drumm Street
       San Francisco, CA 94111                    *Admitted Pro Hac Vice
  20   T: (415) 343-1198
       F: (415) 395-0950
  21   skang@aclu.org
       samdur@aclu.org
  22
  23
  24
  25
  26
  27
  28

                                                  1
